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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:19−cr−00302
                                                           Honorable John J. Tharp Jr.
Michael P. Gannon
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 8, 2019:


       MINUTE entry before the Honorable Jeffrey T. Gilbert as to Michael P. Gannon:
The arraignment set for 4/9/19 at 11:00 a.m. is stricken. Mailed notice (ber, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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